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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                           July 27, 2023

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Appeal Number: 22-13474-J
Case Style: Leonardo Cellorio, et al v. Facci of Merrick Park, Inc., et al
District Court Docket No: 1:19-cv-25283-EGT

All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Tolling Motion
The district court docket indicates that the notice of appeal was filed before the disposition of a
timely tolling motion. The notice of appeal becomes effective when the order disposing of the
motion is entered. See FRAP 4(a)(4). All appeal deadlines are suspended pending the
district court’s entry of an order disposing of the motion. Upon entry of the district court's
order, the time to take required action will begin to run anew without further notice.

Clerk's Office Phone Numbers
General Information: 404-335-6100           Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135           Capital Cases:               404-335-6200
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                                                                     MOT-2 Notice of Court Action
